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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

RACHELLE BEAUBRUN, KAYLA
BUCHANAN, AMANDA DIMURO,
KRISTEN GODUTO, KARA
GUGGINO, SARA HOEHN, APRIL
JOHNSON, MAGGIE LEON,
REBECCA MORA, TERRY NAGY-
PHILIPS, LAUREN REYNOLDS, ANN
URSINY, CRISTIAN VILLALTA-
GARCIA and KAREN WATSON,

               Plaintiffs,

v.                                                             Case No: 5:19-cv-615-Oc-32PRL

UNITED STATES OF AMERICA,

               Defendant.


                                            ORDER

       Plaintiffs, through counsel, initiated this case by filing a Complaint. (Doc. 1). Pending before the

Court are two motions regarding counsel of record for Plaintiffs: (1) a Motion for Bryan E. Busch, Esquire

to Appear Pro Hac Vice on behalf of Plaintiffs (Doc. 9); and (2) Plaintiff Lauren Reynolds’ Motion for

Substitution of Attorney/Legal Counsel (Doc.7). Upon due consideration, both Motions (Docs. 7, 9) are

GRANTED.

       Mr. Busch is authorized to appear pro hac vice on behalf of all Plaintiffs in this case with

Christopher Y. Mills, Esquire as local counsel. If counsel has not already done so, within fourteen (14)

days of the date of this Order, counsel shall fully comply with Local Rule 2.02(a), including registering

for and using the Court’s electronic filing system and paying the special admission fee. Mr. Busch is

reminded that he is deemed to be familiar with and shall be governed by the Court’s Local Rules. Local
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counsel, Mr. Mills, fully assumes all responsibilities set forth in Local Rule 2.02, including responsibility

for trial in default of the non-resident attorney.

        James Angelo DeMiles, Esq. is SUBSTITUTED for Mr. Busch and Mr. Mills as counsel of record

for Plaintiff Reynolds.1 The Clerk is directed to remove Bryan E. Busch, Esquire and Christopher Y. Mills,

Esquire from CM/ECF notifications for Plaintiff Reynolds only.

        IT IS SO ORDERED.

        DONE AND ORDERED at Ocala, Florida, this 17th day of January, 2020.




1
  The Motion requests that Mr. DeMiles be substituted as counsel of record for Plaintiff Reynolds.
Doc. 7. Attached to the Motion is a Consent to Substitution, which indicates that Mr. DeMiles and
Max Soren, Esquire will be representing Plaintiff Reynolds. Doc. 7-1. If Mr. Soren intends on
appearing in this Court on Plaintiff Reynolds’ behalf, he must file a notice of appearance.


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